     Case 2:21-cv-09124-PA-AFM Document 44 Filed 07/07/22 Page 1 of 1 Page ID #:151
                                                                                   JS-6
 1    SANDERS LAW GROUP
      Craig B. Sanders, Esq. (Cal Bar 284397)
 2    100 Garden City Plaza, Suite 500
      Garden City, NY 11530
 3    Tel: (516) 203-7600
      Email: csanders@sanderslaw.group
 4    File No.: 123645
 5    Attorneys for Plaintiff
 6                           UNITED STATES DISTRICT COURT
 7                          CENTRAL DISTRICT OF CALIFORNIA
 8
 9     Gary Miller,
10                           Plaintiff,               Case No. 2:21-cv-09124-PA-AFM
11
                              v.                      ORDER GRANTING STIPULATED
12                                                    NOTICE OF DISMISSAL
13     Mythology Entertainment, Inc.,                 PURSUANT TO FRCP 41
       Fuqua Films, Inc. and Showtime                 (a)(1)(A)(ii)
14     Networks Inc.,
15
                            Defendants.
16
17
18           Having read and considered the Stipulated Notice of Voluntary Dismissal,
19    filed by Plaintiff, Gary Miller, and Defendants, Mythology Entertainment, Inc.,
20    Fuqua Films, Inc. and Showtime Networks, Inc., IT IS HEREBY ORDERED
21    THAT, this action is DISMISSED WITH PREJUDICE in its entirety, with each
22    party bearing his or its own costs, expenses, and attorneys’ fees incurred in the
23    prosecution or defense of their respective claims and defenses.
24    IT IS SO ORDERED
25    DATED: July 7, 2022
26                                                             ________________________
                                                                     Percy Anderson
27
                                                                United States District Judge
28

      Case No. 2:21-cv-09124-PA-AFM              -1-
                                          ORDER OF DISMISSAL
